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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-03747

KEVIN O’ROURKE, et al.,

Plaintiffs,

v.

DOMINION VOTING SYSTEMS INC., et al.,

Defendants.


                NOTICE OF FILING DOCUMENTS IN ERROR


       COMES NOW the Plaintiffs, by and through counsel, and hereby

respectfully notifies the Court of two filed documents were filed in the district

court in error , and hereby requests that the Clerk of Court remove the documents

from the district court record.

       As grounds therefore, undersigned counsel states as follows:

       1.     On September 18, 2021, undersigned counsel mistaken filed the

Plaintiffs opening brief due in the 10th Circuit court of appeals with this district

court. Doc. 155.




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       2.       Additionally, a motion for extension of time to allow the filing of the

brief one day out of time was also incorrectly filed with the district court. Doc.

156.

       3.       The documents have been filed with the correct court and undersigned

counsel requests that the identified documents be removed from the district court

record.

       WHEREFORE, Plaintiffs, by and through counsel, and hereby respectfully

notifies the Court of two filed documents were filed in the district court in error ,

and hereby requests that the Clerk of Court remove the documents from the district

court record.

       Respectfully submitted, this 20th day of September 2021.


       By:      s/ Gary D. Fielder
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                        CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on September 20, 2021, a copy of the
foregoing NOTICE OF FILING DOCUMENTS IN ERROR was electronically
filed with the Clerk via the court’s Electronic Case Filing System (ECF), and
Participants in the case are registered CM/ECF users, and service will be
accomplished by the appellate CM/ECF system.

                                                  s/ Gary D. Fielder, Esq.




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